From: Cooper, Howard   <hcooper@toddweld.com>
                    Case  1:21-cv-00131-JL Document 262-3                 Filed 03/01/24 Page 1 of 3
Sent: Tuesday, February 20, 2024 7:16 PM
To: Mike Voris <lrishRebell983@outlook.com>
Cc: Cacace, Joseph <jcacace@toddweld.com>; selovecky@psh.com
Subject: Re: FRE 408 Communication




Mr. Voris,


No, I am not going to write anything further. If you would like to try again, feel free. It is your apology.

Absent your providing an apology acceptable to Fr, de Laire and making an acceptable financial proposal, we will not be
able to settle the case.


Howard Cooper




Howard M. Cooper

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                                                                                   e^mrT.
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       On Feb 20, 2024, at 7:03 PM, Mike Voris <lrishRebell983@outlook. com> wrote:
Thank you Mr.Case  1:21-cv-00131-JL Document 262-3 Filed 03/01/24 Page 2 of 3
              Cooper.

My problem with this is simply, it is not true.

I do not accept "full responsibility" because I am not fully responsible.

I accept my responsibility where my responsibility lies - as laid out in my first version.

You may not be fully aware of the complete timeline here so allow me a moment to lay it out.

MB directly contacted CN priorto submitting his article and filled her in on everything.

He told her he would submit it in an article submission,which he did.

None of this process was in the least unusual as a process. Happens all the time in media.

The person in charge of news (News Director) is responsible forthe CONTENT published.

The CEO is responsible forthe PERSONNELto whom duties are delegated.

Marc sent the article to Christine - who NEVER brought it to my attention - which again would be a very
exceptional thing in media.

News Directors do not bring content to their superiors unless some major issue raises its head in the NEWS
DIRECTOR'S judgment.

That is the ND'sjob. Period.

The CEO does NOT vet, read, approve or in anyway be involved with article content UNLESS it is brought to
him by his ND. The CEO is not even aware of what is submitted which are many secured and stories every
day.

That's the way the industry works. If the CEO reviewed every article, why would he need a news director?

It was Niles' total responsibility to review and vet the content - not mine.

Just like she did not hand over multiple things in discovery this bringing us all to this point, she also failed in
her duties to vet the article and raise any concerns to me in advance.

I'm responsible for her being in her post.
SHE is responsible for failing I her duties.

I will not present a falsehood in any statement and I'm very confused and disturbed by your insistence that I
take responsibility for something I have no responsibility in.

Additionally -1 cannot sign into a statement saying what MB said was false because I do not know that. Sitting
here today, I still have no reason to believe what he said was false.

All I know is that after he repeatedly told me and others he had these sources, he simply refused to provide
them.


That does not mean there weren't any, nor does it mean the claims are false.

Again -1 cannot sign a statement presenting a falsehood.

i am fine with continuing to crafting a satisfactory statement we can hopefully arrive at but those two
statements are simolv non-starters for me because thev are NOTTRUE.
Also -1 do notCase  1:21-cv-00131-JL
               understand                 Document
                          this attempt to shield        262-3
                                                 Niles from her Filed 03/01/24
                                                                massive failures.   Page 3 of 3

If it is because saying her name has some legal reprecussions I'm fine with referring to her position as
opposed to her name, but I will not accept responsibility for something I did not do.

If you'd like to send another iteration of my proposed statement which fairly incorporates my concerns. I'm
happy to review it.

Thank you.




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From: Cooper, Howard <hcooDer@toddweld.com>
Sent: Tuesday, February 20, 20244:51:08 PM
To: Mike Voris <lrishRebell983@outlook.com>
Cc: Cacace, Joseph <icacace@toddweld.com>: seloveckv@psh.com <seloveckv@psh.com>
Subject: RE: FRE 408 Communication




Mr. Voris -


What is your financial proposal?

I have taken the liberty of simplifying your statement below. Please let us know if it is
acceptable. Please understand that it is unacceptable to use the apology to assign blame
to Ms. Niles.


Thank you,

Howard Cooper

Apology to be Attached to the Agreement for Judgment

I apologize to Fr. De Laire for the publication by Church Militant of an article dated
January 17, 2019 titled "New Hampshire Vicar Changes Dogma Into Heresy." The
statements about Fr. de Laire in the article attributed to anonymous sources were

not properly vetted by Church Militant prior to publication. Marc Balestrieri, the
author of the article, claimed that he had sources for the statements about Father de
Laire. As it turned out, this was not true and, when pressed, Mr. Balestrieri was
unable to name or produce any source at all. As the former CEO of Church Militant, I
accept full responsibility for the false and defamatory content of th^rlicle. I ask Fr.
de Laire for his forgiveness.                                                               ^
                                                                                            9
